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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

xX

In re: | Chapter 11

SEVENTY SEVEN FINANCE INC., et al.,' . Case No. 16-11409 (LSS)
Debtors. | (Jointly Administered)

 

X Re: Docket Nos. 12,31, 47

 

INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, AND 507 AND
FED. R. BANKR. P. 2002, 4001 AND 9014 (1) AUTHORIZING DEBTORS AND
DEBTORS IN POSSESSION TO OBTAIN POSTPETITION FINANCING,

(11) AUTHORIZING USE OF CASH COLLATERAL, (III) GRANTING LIENS AND
SUPER-PRIORITY CLAIMS, (IV) GRANTING ADEQUATE PROTECTION TO
PREPETITION SECURED LENDERS, (V) MODIFYING THE AUTOMATIC STAY;
(VI) SCHEDULING A FINAL HEARING, AND (VID). GRANTING RELATED RELIEF

Upon the motion (the “Motion”! of the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors”) pursuant to §§ 105, 361, 362, 363, 364(c)(1), 364(c)(2)
and 364(c)(3) of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002,
4001(c), and 9014 of the Federal Rules of Bankruptcy Procedure (as amended, the “Bankruptcy
Rules”), and Rule 4001-2 of the Local Bankruptcy Rules for the United States Bankruptcy Court
for the District of Delaware (the “Local Rules”), seeking, among other things:

(1) authorization for (a) Nomac Drilling, L.L.C., as debtor and debtor-in-possession

(“Nomac”), Performance Technologies, L.L.C, as debtor and debtor-in-possession (“PTL”), and

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax

identification number, as applicable, are: Seventy Seven Energy Inc. (8422); Seventy Seven Finance Inc. (3836);
Seventy Seven Operating LLC (8399); Great Plains Oilfield Rental, L.L.C. (4318); Seventy Seven Land Company
LLC (4346); Nomac Drilling, L.L.C. (9548); Performance Technologies, L.L.C. (5813); PTL Prop Solutions, L.L.C.
(2147); SSE Leasing LLC (5764); Keystone Rock & Excavation, L.L.C. (8771); Western Wisconsin Sand
Company, LLC (4510). The Debtors’ mailing address is 777 NW 63rd Street, Oklahoma City, Oklahoma 73116.

? Capitalized terms used but not defined in this Order shall have the same meanings ascribed to such terms in
the Senior Secured Debtor-in-Possession Credit Agreement or the Motion, as applicable.

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Great Plains Oilfield Rental, L.L.C, as debtor and debtor-in-possession (“GPOR”, and together

with Nomac and PTL, the “Debtor Borrowers”) to obtain, and (b) Seventy Seven Energy Inc., as

 

debtor and debtor-in-possession (“Parent”), Seventy Seven Operating LLC, as debtor and debtor-
in-possession (“SSO”), Seventy Seven Land Company LLC, as debtor and debtor-in-possession,
(“SSLC”), PTL Prop Solutions, L.L.C., as debtor and debtor-in-possession (“PTL Prop”), and
SSE Leasing LLC, as debtor and debtor-in-possession (“SSE” and together with Parent, Sso,
SSLC, and PTL Prop, the “Debtor Guarantors”), to guarantee, unconditionally, on a joint and
several basis, up to $100 million in post-petition financing in the form of a revolving credit and
letter of credit facility in accordance with the terms and conditions set forth in the Senior Secured
Debtor-in-Possession Credit Agreement, dated as of June 8, 2016, a copy of which is attached
hereto as Exhibit 1 (as amended, supplemented or otherwise modified from time to time in
accordance with the terms and conditions set forth herein, the “DIP Credit Agreement”), by and
among the Debtor Borrowers and the Debtor Guarantors (collectively, the “Debtor Loan
Parties”), Wells Fargo Bank, N.A., as administrative agent and collateral agent (“DIP Agent”),

and the lenders party thereto (the “DIP Lenders”) and in accordance with this order (“Interim

 

Order’), secured by perfected senior priority security interests in and liens on the Collateral (as
defined below), pursuant to §§ 364(c)(2) and 364(c)(3) of the Bankruptcy Code;

(2) authorization for the Debtor Loan Parties to execute, deliver and enter into the
DIP Credit Agreement, the Debtor-in-Possession Guaranty and Security Agreement, dated as of
June 8, 2016, a copy of which is attached as Exhibit 2 (as amended, supplemented or otherwise
modified from time to time in accordance with the terms and conditions set forth herein) (the

“DIP Guaranty and Security Agreement”), and the other Loan Documents (as defined in the DIP

 

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Credit Agreement, all as amended, supplemented or otherwise modified from time to time in
accordance with the terms and conditions set forth herein the “DIP Loan Documents”);

(3) authorization for Debtor Loan Parties to (i) pay and satisfy in full all Pre-Petition
Revolving Loan Obligations (as hereinafter defined) due and owing under the Pre-Petition
Revolving Credit Agreement (as hereinafter defined) and to authorize Debtor Loan Parties to
enter into and to approve the form of the Pre-Petition Revolving Loan Termination Agreement,
dated June 8, 2016 (the “Pre-Petition Revolving Loan Termination Agreement”), in the form
attached hereto as Exhibit 3 and (ii) remit all collections, asset proceeds and payments to DIP
Agent and DIP Lenders for application, or deemed application, to the repayment of all Post-
Petition Obligations (as hereinafter defined), including, without limitation, all unreimbursed
Letters of Credit, which were issued pre-petition, which, in accordance with the terms of the DIP
Credit Agreement, shall be deemed to have been issued or provided, as applicable, under the DIP
Credit Agreement and the other DIP Loan Documents;

(4) authorization for the Debtors to grant superpriority administrative claim status,
pursuant to § 364(c)(1) of the Bankruptcy Code, to DIP Agent, for the benefit of itself and the
other DIP Lenders, in respect of all Post-Petition Obligations;

(5) as set forth below, approval of certain stipulations by the Debtors as set forth in
this Interim Order in connection with the Pre-Petition Revolving Loan Documents, the Term
Loan Documents, and the Incremental Term Loan Documents (as each term is defined below);

(6) as set forth below, authorization to provide adequate protection to Pre-Petition
Revolving Agent and Pre-Petition Revolving Lenders, and Term Agent and Term Lenders, each

in their respective capacities under the Term Loan Documents (as defined below), and

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Incremental Term Loan Agent and Incremental Term Loan Lenders, each in their respective
capacities under the Incremental Term Loan Documents (as defined below);

(7) effective only upon entry of a Final Order (as defined below), the waiver of the
Debtors’ right to assert claims to surcharge against the Collateral (as defined below) pursuant to
§ 506(c) of the Bankruptcy Code and any “equities of the case” exception in Section 552(b) of
the Bankruptcy Code, to the extent set forth below;

(8) the vacation and modification of the automatic stay imposed by section 362 of the
Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of
this Interim Order to the extent hereinafter set forth;

(9) the setting of a final hearing on the Motion (“Final Hearing”) to consider entry of
a final order (the “Final Order”) authorizing, among other things, the borrowing under the DIP
Loan Documents on a final basis, as set forth in the Motion and the DIP Credit Agreement filed
with the Court, including the granting to DIP Agent and DIP Lenders the senior security interests
and liens described above and super-priority administrative expense claims; and

(10) _ related relief.

The initial hearing on the Motion having been held by this Court on June 8, 2016 (the
“Interim Hearing”), and upon the record made by the Debtors at the Interim Hearing, including
the Motion, the Declaration of Cary Baetz in Support of First Day Motions, dated June 7, 2016
(the “First-Day Declaration”), the Declaration of Andrew Yearley in Support of the Debtors’
Motion to Approve DIP Financing, dated June 7, 2016 (the “Yearley Declaration”) and the
filings and pleadings in the above-captioned chapter 11 cases (the “Cases”), the Court having
found that the relief requested in the Motion is in the best interests of Debtors, their estates, their

creditors and other parties in interest; and appropriate notice of the Motion, the relief requested

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therein, and the Interim Hearing (the “Notice”) was appropriate under the circumstances; and the
Notice having been served by the Debtors in accordance with Rule 4001(c) on (4) counsel to DIP
Agent; (ii) counsel to the Pre-Petition Revolving Agent, (iii) counsel to the Term Agent and the
Consenting Term Lenders (as defined in motion), (iv) counsel to the Incremental Term Loan
Agent, (v) the office of the United States Trustee (the “U.S. Trustee”), (vi) counsel to the
Consenting Incremental Term Lenders (as defined in the Motion); (vii) counsel to the
Consenting OpCo Noteholders (as defined in the Motion), (viii) counsel to the Consenting
HoldCo Noteholders (as defined In the Motion), (ix) the holders of the thirty (30) largest
unsecured claims, on a consolidated basis, against the Debtors’ estates (the “30 Largest
Unsecured Creditors”), (x) the Internal Revenue Service, (xi) the Securities and Exchange
Commission, (xii) the office of the attorneys general for the states in which the Debtors operate
and (xiii) certain other parties identified in the certificate of service filed with the Court,
including, without limitation, (a) all creditors who have filed or recorded pre-petition liens or
security interests against any of the Debtors’ assets, (b) all relevant state taxing authorities, and
(c) all landlord, owners and/or operators of premises at which any of the Debtor Loan Parties’
inventory and/or equipment is located (collectively, the “Noticed Parties”) and the opportunity
for a hearing on the Motion was appropriate and no other notice need be provided; and after due
deliberation sufficient cause appearing therefor;

THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
CONCLUSIONS OF LAW:

A. Petition. On June 7, 2016 (the “Petition Date”), each Debtor filed a voluntary

petition (each, a “Petition”) under chapter 11 of the Bankruptcy Code. The Debtors continue to

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operate their businesses and manage their properties as debtors-in-possession pursuant to
§§ 1107(a) and 1108 of the Bankruptcy Code.

B. Disposition. The Motion is hereby granted in accordance with the terms of this
Interim Order. Any objections to the Motion with respect to the entry of this Interim Order that
have not been withdrawn, waived or settled are hereby denied and overruled. This Interim Order
shall become effective immediately upon entry.

C. Jurisdiction and Venue. The United States Bankruptcy Court for the District of
Delaware (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334
and the Amended Standing Order of Reference from the United States District Court for the
District of Delaware, dated February 29, 2012. The Motion is a “core” proceeding as defined in
28 U.S.C. §§ 157(b)(2)(A), (D) and (M). Venue of the Cases and the Motion in this Court is
proper pursuant to 28 U.S.C. §§ 1408 and 1409.

D. Notice. The Notice was given in the manner described in the Motion. Under the
circumstances, the Notice given by the Debtors of the Motion, the Interim Hearing and the relief
granted under this Interim Order constitutes due and sufficient notice thereof and complies with
Bankruptcy Rules 4001(b) and 4001(c).

E. Debtor Loan Parties’ Acknowledgments and Agreements. Without prejudice to
the rights of any creditors’ committee appointed in these Cases under Section 1102 of the
Bankruptcy Code (the “Committee”) or other parties-in-interest as and to the extent set forth in
Section 4.1 of this Interim Order, the Debtors admit, stipulate, acknowledge and agree that:

(i) Pre-Petition Revolving Loan Documents. Prior to the
commencement of the Cases, Pre-Petition Revolving Agent and the Pre-Petition Revolving

Lenders made loans, advances and provided other financial accommodations to Debtor Loan

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Parties pursuant to the terms and conditions set forth in (1) the Credit Agreement, dated June 25,
2014, by and among Debtor Borrowers, Debtor Guarantors, Wells Fargo Bank N.A., as
Administrative Agent (“Pre-Petition Revolving Agent”) and the lenders party thereto (“Pre-
Petition Revolving Lenders”) (referred to herein as the “Pre-Petition Revolving Credit
Agreement”); and (2) all other agreements, documents and instruments executed and/or delivered
with, to, or in favor of Pre-Petition Revolving Agent or any Pre-Petition Revolving Lender,
including, without limitation, the Guaranty and Security Agreement, by and among Debtor
Borrowers, Debtor Guarantors and Pre-Petition Revolving Agent, on behalf of itself and other
Pre-Petition Revolving Lenders (the “Pre-Petition Revolving Guaranty and_ Security
Agreement”), all security agreements, notes, guarantees, mortgages, Uniform Commercial Code
financing statements and ail other related agreements, documents and instruments executed
and/or delivered in connection therewith or related thereto (all of the foregoing, together with the
Pre-Petition Revolving Credit Agreement, as all of the same have heretofore been amended,
supplemented, modified, extended, renewed, restated and/or replaced at any time prior to the
Petition Date, collectively, the “Pre-Petition Revolving Loan Documents”). Copies of the
operative Pre-Petition Revolving Loan Documents are on file with counsel to the Debtors and
available upon reasonable request.

(il) Pre-Petition Revolving Loan Obligations. As of the Petition Date, the
Debtors were indebted to Pre-Petition Revolving Agent and the Pre-Petition Revolving Lenders
under the Pre-Petition Revolving Loan Documents in respect of Loans, Letters of Credit, Bank
Products, and all other Obligations (each as defined in the Pre-Petition Revolving Credit
Agreement) in an aggregate outstanding principal amount of not less than $15,003,729, plus

interest accrued and accruing thereon, together with all costs, fees, expenses (including

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attorneys’ fees and legal expenses) and other charges accrued, accruing or chargeable with
respect thereto (collectively, the “Pre-Petition Revolving Loan Obligations”). The Pre-Petition
Revolving Loan Obligations constitute allowed, legal, valid, binding, enforceable and non-
avoidable obligations of Debtor Loan Parties, and are not subject to any offset, defense,
counterclaim, avoidance, recharacterization or subordination pursuant to the Bankruptcy Code or
any other applicable law, and Debtors do not possess, shall not assert, hereby forever release, and
are forever barred from bringing any claim, counterclaim, setoff or defense of any kind, nature or
description which would in any way affect the validity, enforceability and non-avoidability of
any of the Pre-Petition Revolving Loan Obligations or liens and security interest securing the
same described in clause (E)(iii) below.

(iii) Pre-Petition Revolving Loan Collateral. As of the Petition Date, the Pre-
Petition Revolving Loan Obligations were fully secured pursuant to the Pre-Petition Revolving
Loan Documents by valid, perfected, enforceable and non-avoidable first-priority security
interests and liens granted by Debtor Loan Parties to Pre-Petition Revolving Agent, for the
benefit of itself and the other Pre-Petition Revolving Lenders, under the Pre-Petition Revolving
Loan Documents, upon all of the “Collateral” (as defined in the Pre-Petition Revolving Loan
Documents and hereinafter referred to as the “Pre-Petition Revolving Loan Collateral”), subject
only to the liens specifically permitted under Section 6.2 of the Pre-Petition Revolving Credit
Agreement to the extent that such security interests, liens or encumbrances are (1) valid,
perfected and non-avoidable security interests, liens or encumbrances existing as of the Petition
Date, and (2) senior to and have not been or are not subject to being subordinated to Pre-Petition
Revolving Agent’s and Pre-Petition Revolving Lenders’ liens on and security interests in the

Pre-Petition Revolving Loan Collateral under the Pre-Petition Revolving Loan Documents or

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otherwise avoided, and, in each instance, only for so long as and to the extent that such
encumbrances are and remain senior and outstanding (hereinafter referred to as the “Permitted
Encumbrances”). The Debtors do not possess and will not assert any claim, counterclaim, setoff
or defense of any kind, nature or description which would in any way affect the validity,
enforceability and non-avoidability of any of Pre-Petition Revolving Agent’s and Pre-Petition
Revolving Lenders’ liens, claims or security interests in the Pre-Petition Revolving Loan
Collateral.

(iv) Proof of Claim. The acknowledgment by Debtors of the Pre-Petition
Revolving Loan Obligations and the liens, rights, priorities and protections granted to or in favor
of Pre-Petition Revolving Agent and Pre-Petition Revolving Lenders in respect of the Pre-
Petition Revolving Loan Collateral as set forth herein and in the Pre-Petition Revolving Loan
Documents shall be deemed a timely filed proof of claim on behalf of Pre-Petition Revolving
Loan Agent and the Pre-Petition Revolving Lenders in these Cases. Pre-Petition Revolving
Agent and Pre-Petition Revolving Lenders shall be relieved of the requirement to file proofs of
claims in these Cases.

(v) Term Loan Documents. Prior to the commencement of the Cases,
Term Agent (as defined below) and the Term Lenders (as defined below) made loans, advances
and provided other financial accommodations to Debtors pursuant to the terms and conditions set
forth in (a) the $400 Million Term Loan Credit Agreement, dated as of June 25, 2014 (as
amended, restated, modified, supplemented and replaced from time to time prior to the Petition
Date, the “Term Loan Agreement”), by and among SSO, as borrower, Parent, as Guarantor, the
lenders party thereto (the “Term Lenders”), and Wilmington Trust, N.A., as successor in interest

to Bank of America, N.A., in its capacity as administrative agent and as collateral agent (the

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“Term Agent”); and (b) all other agreements, documents and instruments executed and/or
delivered with, to or in favor of the Term Lenders or Term Agent, including, without limitation,
that certain Guaranty, dated as of June 25, 2014, executed by the Debtor Loan Parties party
thereto in favor of the Term Agent (the “Term Loan Guaranty”), and all other security
agreements, notes, guarantees, mortgages, Uniform Commercial Code financing statements and
all other related agreements, documents and instruments, including any fee letters, executed
and/or delivered in connection therewith or related thereto (all the foregoing, together with the
Term Loan Agreement, as all of the same have been supplemented, modified, extended,
renewed, restated and/or replaced at any time prior to the Petition Date, collectively, the “Term
Loan Documents”). Copies of the operative Term Loan Documents are on file with counsel to
the Debtors and available upon reasonable request.

(vi) Term Loan Obligations. As of the Petition Date, the Debtors were
indebted to Term Agent and Term Lenders under the Term Loan Documents in respect of loans
and other obligations evidenced thereby in an aggregate outstanding principal amount of not less
than $393,000,000, plus interest accrued and accruing thereon, together with all costs, fees,
expenses (including attorneys’ fees and legal expenses) and other charges accrued, accruing or
chargeable with respect thereto (collectively, the “Term Obligations”). The Term Obligations
constitute allowed, legal, valid, binding, enforceable and non-avoidable obligations of Debtors,
and are not subject to any offset, defense, counterclaim, avoidance, recharacterization or
subordination pursuant to the Bankruptcy Code or any other applicable law, and Debtors do not
possess, shall not assert, hereby forever release, and are forever barred from bringing any claim,

counterclaim, setoff or defense of any kind, nature or description which would in any way affect

 

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the validity, enforceability and non-avoidability of any of the Term Obligations, or the liens and
security interests securing the same described in clause (E)(vii) below,

(vil) Term Loan Collateral. As of the Petition Date, the Term Obligations were
fully secured pursuant to the Term Loan Documents by valid, perfected, enforceable and non-
avoidable security interests and liens granted by Debtors to Term Agent, for the benefit of itself
and the other Term Lenders under the Term Loan Documents (“Term Loan Liens”), upon all of
the “Collateral” as defined in the Term Loan Documents (the “Term Collateral”), The Debtors
do not possess and will not assert any claim, counterclaim, setoff or defense of any kind, nature
or description which would in any way affect the validity, enforceability and non-avoidability of
any of Term Agent’s or Term Lenders’ Term Loan Liens in the Term Collateral.

(viii) Term Agent’s Proof of Claim. The acknowledgment by Debtors of the
Term Obligations, the Term Loan Liens and any other rights, priorities and protections granted to
or in favor of Term Agent and Term Lenders in respect of the Term Collateral as set forth herein
and in the Term Loan Documents shall be deemed a timely filed proof of claim on behalf of
Term Agent and Term Lenders in these Cases, and the Term Agent and Term Lenders shall be
relieved of the requirement to file proofs of claims in these Cases.

(ix) Incremental Term Loan Documents. Prior to the commencement of the
Cases, Incremental Term Loan Agent (as defined below) and the Incremental Term Loan
Lenders (as defined below) made loans, advances and provided other financial accommodations
to Debtors pursuant to the terms and conditions set forth in (a) the Term Loan Agreement, as
supplemented by the Incremental Term Supplement (Tranche A), dated as of May 13, 2015, (as
amended, restated, modified, supplemented and replaced from time to time prior to the Petition

Date, the “Incremental Term Loan Supplement”), by and among Parent, SSO, as borrower,

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GPOR, Nomac, PTL, PTL Prop, SSE and SSLC, as guarantors, Wilmington Trust, N.A, as
successor in interest to Bank of America, N.A., as agent (“Incremental Term Loan Agent”), and
the lenders party thereto (the “Incremental Term Loan Lenders”); and (b) all other agreements,
documents and instruments, including, without limitation, that certain Tranche A Incremental
Guaranty, dated as of May 13, 2015, executed by Parent, GPOR, Nomac, PTL, PTL Prop, SSE
and SSLC in favor of Incremental Term Loan Agent for the benefit of the Incremental Term
Loan Agent and the Incremental Term Lenders (the “Incremental Term Loan Guaranty”),
including, without limitation, all security agreements, notes, guarantees, mortgages, Uniform
Commercial Code financing statements and all other related agreements, documents and
instruments, including any fee letters, executed and/or delivered in connection therewith or
related thereto (all the foregoing, together with the Incremental Term Loan Supplement, as all of
the same have been supplemented, modified, extended, renewed, restated and/or replaced at any
time prior to the Petition Date, collectively, the “Incremental Term Loan Documents”). Copies
of the operative Incremental Term Loan Documents are on file with counsel to the Debtors and
available upon reasonable request.
(x) Incremental Term Loan Obligations. As of the Petition Date, the
Debtors were indebted to the Incremental Term Loan Agent and Incremental Term Loan Lenders
under the Incremental Term Loan Documents in respect of loans and other obligations evidenced
thereby in an aggregate outstanding principal amount of approximately $99,000,000, plus
interest accrued and accruing thereon, together with all costs, fees, expenses (including
attorneys’ fees and legal expenses) and other charges accrued, accruing or chargeable with
respect thereto (collectively, the “Incremental Term Loan Obligations”). The Incremental Term

Loan Obligations constitute allowed, legal, valid, binding, enforceable and non-avoidable

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obligations of Debtors, and are not subject to any offset, defense, counterclaim, avoidance,
recharacterization or subordination pursuant to the Bankruptcy Code or any other applicable law,
and Debtors do not possess, shall not assert, hereby forever release, and are forever barred from
bringing any claim, counterclaim, setoff or defense of any kind, nature or description which
would in any way affect the validity, enforceability and non-avoidability of any of the
Incremental Term Loan Obligations or the liens and security interests securing the same
described in clause (E)(xi) below.

(xi) Incremental Term Collateral. As of the Petition Date, the Incremental
Term Loan Obligations were fully secured pursuant to the Incremental Term Loan Documents
by valid, perfected, enforceable and non-avoidable junior security interests and liens granted by
Debtors to Incremental Term Loan Agent, for the benefit of itself and the other Incremental
Term Loan Lenders under the Incremental Term Loan Documents (“Incremental Term Loan
Liens”), upon all of the “Collateral” as defined in the Incremental Term Loan Documents (the
“Incremental Term Collateral”). The Incremental Term Loan Liens in the Incremental Term
Collateral are junior and subordinate only to the liens of Term Agent and Term Lenders pursuant
to the terms of the Incremental Term Loan Documents. The Debtors do not possess and will not
assert any claim, counterclaim, setoff or defense of any kind, nature or description which would
in any way affect the validity, enforceability and non-avoidability of any of Incremental Term
Loan Agent’s or Incremental Term Loan Lenders’ Incremental Term Loan Liens in the
Incremental Term Collateral.

(xil) Incremental Term Loan Agent’s Proof of Claim. The acknowledgment by
Debtors of the Incremental Term Loan Obligations, the Incremental Term Loan Liens and any

other rights, priorities and protections granted to or in favor of Incremental Term Loan Agent

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and Incremental Term Loan Lenders in respect of the Incremental Term Collateral as set forth
herein and in the Incremental Term Loan Documents shall be deemed a timely filed proof of
claim on behalf of Incremental Term Loan Agent and Incremental Term Loan Lenders in these
Cases, and the Incremental Term Loan Agent and Incremental Term Loan Lenders shall be

relieved of the requirement to file proofs of claims in these Cases.

 

F, Findings Regarding the Post-Petition Financing.
(i) Post-Petition Financing. The Debtors have requested from each of the

DIP Agent and the DIP Lenders, and the DIP Agent and DIP Lenders are willing, to extend
certain loans, advances and other financial accommodations on the terms and conditions set forth
in this Interim Order, the DIP Credit Agreement and the other DIP Loan Documents,
respectively.

(11) Need_for Post-Petition Financing. The Debtor Loan Parties have an
immediate and critical need to obtain the financing, including the continued use of cash
collateral, in order to permit, among other things, the orderly continuation of the operation of
their businesses, to maintain business relationships with their vendors, suppliers and customers,
to pay their employees, to repay the Pre-Petition Revolving Loan Obligations, to provide back-
to-back replacement letters of credit in respect of the letters of credit currently outstanding under
the Pre-Petition Revolving Credit Agreement and to otherwise fund their working capital and
operational needs. Access to the financing requested in the Motion is essential to the Debtors’
continued viability as the Debtors seek to maximize the value of the assets of the Estates (as
defined below) for the benefit of all creditors of the Debtors. The ability of the Debtor Loan
Parties to obtain sufficient working capital and liquidity through the proposed post-petition

financing arrangements with the DIP Agent and DIP Lenders as set forth in this Interim Order,

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the DIP Credit Agreement, and other DIP Loan Documents, as applicable, is vital to the
preservation and maintenance of the going concern value of each Debtor. Accordingly, the
Debtor Loan Parties have an immediate need to obtain the post-petition financing in order to,
among other things, permit the orderly continuation of the operation of their businesses,
minimize the disruption of their business operations, and preserve and maximize the value of the
assets of the Debtors’ bankruptcy estates (as defined under § 541 of the Bankruptcy Code, the
Estates”) in order to maximize the recovery to all creditors of the Estates.

(iii) No Credit Available on More Favorable Terms. The Debtor Loan Parties
are unable to procure financing in the form of unsecured credit allowable under § 503(b)(1) of
the Bankruptcy Code, as an administrative expense under § 364(a) or (b) of the Bankruptcy
Code, or in exchange for the grant of an administrative expense priority pursuant to § 364(c)(1),
364(c)(2) or 364(c)(3) of the Bankruptcy Code, without granting liens on assets. The Debtor
Loan Parties have been unable to procure the necessary financing on terms more favorable, taken
as a whole, than the financing offered by each of the DIP Agent and DIP Lenders pursuant to the
DIP Loan Documents.

(iv) Budget. The Debtors have prepared and delivered to DIP Agent and DIP
Lenders an initial 13-week budget (as defined in the DIP Credit Agreement, the “Budget”). Such
Budget has been thoroughly reviewed by the Debtors and their management and sets forth,
among other things, the projected cash receipts and disbursements of the Debtors for the periods
covered thereby. The Debtors represent that the Budget is achievable in accordance with the
terms of the DIP Loan Documents and this Interim Order and will allow the Debtors to operate at
all times during these Cases without the accrual of unpaid administrative expenses. The DIP

Agent and DIP Lenders are relying upon the Debtors’ compliance with the Budget in accordance

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with Section 5.17 of the DIP Credit Agreement, the other DIP Loan Documents, and this Interim
Order in determining to enter into the post-petition financing arrangements provided for herein.

(v) Business Judgment and Good Faith Pursuant to § 364(e). The terms of the
DIP Loan Documents and this Interim Order are fair, just and reasonable under the
circumstances, are ordinary and appropriate for secured financing to debtors-in-possession,
reflect the Debtors’ exercise of their prudent business judgment consistent with their fiduciary
duties, and are supported by reasonably equivalent value and fair consideration. The terms and
conditions of the DIP Loan Documents and this Interim Order have been negotiated in good faith
and at arms’ length by and among the Debtor Loan Parties, DIP Agent, Term Agent and
Incremental Term Loan Agent with all parties being represented by counsel. Any credit
extended under the terms of this Interim Order shall be deemed to have been extended in good
faith by the DIP Agent and DIP Lenders, as that term is used in § 364(e) of the Bankruptcy
Code.

(vi) Good Cause. The relief requested in the Motion is necessary, essential
and appropriate, and is in the best interest of and will benefit the Debtors, their creditors and
their Estates, as its implementation will, among other things, provide the Debtors with the
necessary liquidity to (1) minimize disruption to the Debtors’ businesses and on-going
operations, (2) preserve and maximize the value of the Debtors’ Estates for the benefit of all the
Debtors’ creditors, and (3) avoid immediate and irreparable harm to the Debtors, their creditors,
their businesses, their employees, and their assets.

(vii) Immediate Entry, Sufficient cause exists for immediate entry of this
Interim Order pursuant to Bankruptcy Rules 4001(c)(2). No party appearing in the Cases has

filed or made an objection to the relief sought in the Motion or the entry of this Interim Order, or

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any objections that were made (to the extent such objections have not been withdrawn) are
hereby overruled.
Based upon the foregoing, and after due consideration and good cause appearing therefor;
IT IS HEREBY ORDERED THAT:

Section 1. Authorization and Conditions to Financing.

1.1 Motion Granted. The Motion is granted in accordance with Bankruptcy
Rule 4001(c)(2) to the extent provided in this Interim Order. Except as otherwise expressly
provided in this Interim Order, any objection to the entry of this Interim Order that has not been
withdrawn, waived, resolved or settled, is hereby denied and overruled on the merits.

1.2 Authorization to Borrow, Guaranty, and Use Loan Proceeds. Debtor
Borrowers are hereby authorized and empowered to immediately borrow and obtain Loans,
Letters of Credit, Bank Products and to incur indebtedness and other Obligations (as defined in
the DIP Credit Agreement and hereinafter referred to as the “Post-Petition Obligations”), and the
Debtor Guarantors are hereby authorized to guaranty such Post-Petition Obligations, up to an
aggregate principal amount of $100 million, all pursuant to the terms and conditions of this
Interim Order, the DIP Credit Agreement, the DIP Guaranty and Security Agreement and the
other DIP Loan Documents, during the period commencing on the date of this Interim Order
through and including the date of the Final Hearing as set forth in Section 6 of this Interim Order
(the “Interim Financing Period”) in the amounts set forth in the Budget covered by the Interim
Financing Period. Subject to the terms and conditions contained in this Interim Order and the
DIP Loan Documents, Debtor Borrowers shall use the proceeds of the Loans, Letters of Credit,
Bank Products and other credit and financial accommodations provided by DIP Agent and DIP

Lenders under the DIP Credit Agreement and the other DIP Loan Documents (i) on the Closing

 

Date, to refinance the Pre-Petition Revolving Loan Obligations and for the payment of expenses

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set forth in the Budget and amounts owing to DIP Agent and DIP Lenders in accordance with the
terms and conditions of the DIP Loan Documents and this Interim Order and (ii) thereafter, for
working capital of the Debtor Loan Parties and other general corporate purposes in accordance
with the Budget.
1.3 DIP Loan Documents

(a) Authorization. Debtor Loan Parties are hereby authorized and
directed to enter into, execute, deliver, perform, and comply with all of the terms, conditions and
covenants of the DIP Credit Agreement and the other DIP Loan Documents. Upon execution
and delivery of the DIP Credit Agreement and the other DIP Loan Documents, such agreements
and documents shall constitute valid and binding obligations of the Debtors Loan Parties,
enforceable against each Debtor party thereto in accordance with the terms of such agreements,
documents and this Interim Order. No obligation, payment, transfer or grant of security under
the DIP Credit Agreement, the other DIP Loan Documents or this Interim Order shall be stayed
(except as otherwise set forth in this Interim Order), restrained, voidable, or recoverable under
the Bankruptcy Code or under any applicable law (including, without limitation, under § 502(d)
of the Bankruptcy Code), or be subject to any defense, reduction, setoff, recoupment or
counterclaim.

(b) Approval: Evidence of Borrowing Arrangements. The DIP Loan
Documents (including, without limitation, the DIP Credit Agreement) are approved to the extent
necessary to implement the terms and provisions of this Interim Order. The DIP Loan
Documents shall be sufficient and conclusive evidence of (a) the borrowing arrangements by and
among Debtor Loan Parties, DIP Agent and DIP Lenders, and (b) each Debtor Loan Party’s

assumption and adoption of all of the terms, conditions, and covenants of the DIP Credit

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Agreement and the other DIP Loan Documents for all purposes, including, without limitation, to
refinance the Pre-Petition Revolving Loan Obligations, to provide back-to-back replacement
letters of credit in respect to the letters of credit outstanding under the Pre-Petition Revolving
Credit Agreement, and to the extent applicable, the payment of all Post-Petition Obligations
arising thereunder, including, without limitation, all principal, interest, fees and other expenses,
including, without limitation, all of DIP Agent’s and DIP Lenders’ consultant fees, professional
fees, attorney fees and legal expenses, as more fully set forth in the DIP Loan Documents.

(c) Amendment. Subject to the terms and conditions of the DIP Credit
Agreement and the other DIP Loan Documents, Debtors, DIP Agent and DIP Lenders may
amend, modify, supplement or waive any provision of the DIP Loan Documents (a “DIP Loan
Amendment”) without further approval or order of the Court so long as: (a) such DIP Loan
Amendment is not material (for purposes hereof, a “material” DIP Loan Amendment shall mean,
any DIP Loan Amendment that operates to increase the interest rate other than as currently
provided in the DIP Loan Documents, increase the Maximum Credit (as defined in the DIP
Credit Agreement), grant additional liens, add specific new events of default or enlarge the
nature and extent of default remedies available to DIP Agent and DIP Lenders following an
event of default, or otherwise modify any terms and conditions in any DIP Loan Document in a
manner materially less favorable to Debtors) and is undertaken in good faith by DIP Agent, DIP
Lenders and Debtors; (b) the Debtors provide at least two (2) business days’ written notice of the
DIP Loan Amendment (the “DIP Loan Amendment Notice”) to (i) the U.S. Trustee, (ii) counsel
to any Committee, or in the event no such Committee is appointed at the time of such DIP Loan
Amendment, the 30 Largest Unsecured Creditors, (iii) counsel to the Term Agent and

Consenting Term Lenders, (iv) counsel to the Incremental Term Loan Agent, (v) counsel to the

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Consenting Incremental Term Lenders, (vi) counsel to the Consenting OpCo Noteholders, and
(vii) counsel to the Consenting HoldCo Noteholders (collectively, the “DIP Amendment Notice
Parties”), (c) the Debtors file the DIP Loan Amendment Notice with the Court; and (d) no
objection to the DIP Loan Amendment is filed with the Court within two (2) business days from
the later of the date the DIP Loan Amendment Notice is served or the date the DIP Loan
Amendment Notice is filed with the Court in accordance with this Section. Any material DIP
Loan Amendment to the DIP Loan Documents must be approved by the Court to be effective.

1.4 Payment of Pre-Petition Revolving Loan Obligations. The Debtor Loan
Parties are authorized to execute and deliver the Pre-Petition Revolving Loan Termination
Agreement and performance of the transactions and undertakings set forth therein are hereby
approved in all respects. The Debtor Loan Parties are hereby authorized to pay all outstanding
Pre-Petition Revolving Loan Obligations in cash in full, including without limitation, to provide
one or more replacements or backstop Letters of Credit issued under the DIP Credit Agreement
and/or provide that any such Letters of Credit under the Pre-Petition Revolving Credit
Agreement are deemed to be issued under the DIP Credit Agreement, the other DIP Loan
Documents and this Interim Order. The payment and satisfaction in full of the Pre-Petition
Revolving Loan Obligations shall be indefeasible upon the expiration of the Objection Period (as
defined below) if no Objection Proceeding (as defined below) is timely and properly commenced
prior to the end of the Objection Period as provided in paragraph 4.1 herein (or, in the event that
such Objection Proceeding is timely and commenced, on the date on which any Order entered by
the Court in favor of the Pre-Petition Revolving Agent and the Pre-Petition Revolving Lenders in
such proceeding becomes final and non-appealable), at which time the payment and satisfaction

in full of the Pre-Petition Revolving Loan Obligations shall become indefeasible (the “Pre-

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Petition Revolving Loan Discharge”). The liens and security interests granted in favor of the
Pre-Petition Revolving Agent, on behalf of itself and the Pre-Petition Revolving Lenders, shall
be shall be automatically released and terminated upon such Pre-Petition Revolving Loan
Discharge. The Continuing Obligations (as defined in the Pre-Petition Revolving Loan
Termination Agreement), including the indemnification of the Pre-Petition Revolving Agent and
the Pre-Petition Revolving Lenders by the Debtor Loan Parties and to the extent provided in the
Pre-Petition Revolving Loan Documents, shall continue and survive the Pre-Petition Revolving
Loan Discharge.

1.5 Payments and Application of Payments. The Debtors are authorized and
directed to make all payments and transfers of Estate property to the DIP Agent as provided for,
permitted and/or required under the DIP Credit Agreement and the other DIP Loan Documents,
which payments and transfers shall not be avoidable or recoverable from the DIP Agent or any
DIP Lender under §§ 547, 548, 550, 553 or any other section of the Bankruptcy Code, or any
other claim, charge, assessment, or other liability, whether by application of the Bankruptcy
Code, other law or otherwise. All proceeds of the Collateral (as defined herein) received by the
DIP Agent or any DIP Lender, and any other amounts or payments received by the DIP Agent or
any DIP Lender in respect of the Post-Petition Obligations, may be applied or deemed to be
applied by the DIP Agent, in its discretion, to the repayment of the Post-Petition Obligations, all
in accordance with the DIP Credit Agreement, the other DIP Loan Documents and this Interim
Order. Without limiting the generality of the foregoing, the Debtor Loan Parties are authorized
and directed, without further order of this Court, to pay or reimburse DIP Agent and the DIP
Lenders for all present and future costs and expenses, including, without limitation, all

professional fees, consultant fees and legal fees and expenses paid or incurred by the DIP Agent

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and the DIP Lenders in connection with the financing transactions as provided in this Interim
Order and the DIP Loan Documents, all of which shall be and are included as part of the
principal amount of the Post-Petition Obligations and secured by the Collateral (as defined
herein).

1.6 Continuation of Pre-Petition Procedures. In accordance with the terms of
the DIP Loan Documents, all practices and procedures for the payment and collection of
proceeds of the Collateral (as defined herein), the turnover of cash, the delivery of property to the
DIP Agent and the DIP Lenders, including the existing Control Agreements (as such term is
defined in the DIP Credit Agreement) currently in place with Pre-Petition Revolving Agent, and
any other similar lockbox or blocked depository bank account arrangements, shall be ratified,
reaffirmed and assumed by Debtor Loan Parties, are hereby approved and shall continue without
interruption after the commencement of the Cases.

Section 2. Post-Petition Lien; Superpriority Administrative Claim Status.

2.1 Post-Petition Lien.

(a) Post-Petition Lien Granting. To secure the prompt payment and
performance of any and all Obligations (as defined in DIP Credit Agreement) of Debtor Loan
Parties to the DIP Agent and DIP Lenders of whatever kind, nature or description, absolute or
contingent, now existing or hereafter arising, DIP Agent, for the benefit of itself and the other
DIP Lenders, shall have and is hereby granted, effective as of the Petition Date, valid and
perfected first-priority security interests and liens, superior to all other liens, claims or security
interests that any creditor of the Debtors’ Estates may have (but subject to the Permitted Liens
and Claims (as defined below), as and to the extent expressly provided in Section 2.1.3, below),
in and upon all (x) of the “Collateral” (as defined in the DIP Guaranty and Collateral

Agreement), (y) upon and subject to entry of the Final Order, all proceeds of present and future

 

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claims, rights, interests, assets and properties recovered by or on behalf of each Debtor Loan
Party or any trustee of a Debtor Loan Party (whether in the Chapter 11 Cases or any subsequent
case to which any Chapter 11 Case is converted), including without, limitation, all such property
recovered as a result of transfers or obligations avoided or actions maintained or taken pursuant
to, inter alia, Sections 542, 545, 548, 549, 550, 552 and 553 of the Bankruptcy Code (the
“Avoidance Action Proceeds”), and (z) assets and properties not subject to valid, perfected and
non-avoidable liens as of the Petition Date (collectively, the “Collateral”), For the avoidance of
doubt, the Collateral shall not include any property comprising the Term Collateral or the
Incremental Term Collateral.

(b) Lien Priority in Collateral. The liens and security interests of DIP
Agent and DIP Lenders granted under the DIP Loan Documents and this Interim Order in the
Collateral securing all Obligations (as defined in DIP Credit Agreement) shall be first and senior
in priority to all other interests and liens of every kind, nature and description, whether created
consensually, by an order of the Court or otherwise, including, without limitation, liens or
interests granted in favor of third parties in conjunction with §§ 363, 364 or any other section of
the Bankruptcy Code or other applicable law; provided, however, that DIP Agent’s and DIP
Lenders’ liens on and security interests in the Collateral shall be subject only to (a) Permitted
Encumbrances, and (b) the Carve-Out (as defined below) solely to the extent provided for in this
Interim Order (the foregoing clauses (a) and (b) are collectively referred to herein as the
“Permitted Liens and Claims”).

(c) Post-Petition Lien Perfection, This Interim Order shall be
sufficient and conclusive evidence of the priority, perfection and validity of the post-petition

liens and security interests granted herein, effective as of the Petition Date, without any further

 

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act and without regard to any other federal, state or local requirements or law requiring notice,
filing, registration, recording or possession of the Collateral, or other act to validate or perfect
such security interest or lien, including without limitation, control agreements with any financial
institution(s) party to a Control Agreement or holding a or other similar lockbox or blocked
depository account consisting of Collateral (a “Perfection Act”). Notwithstanding the foregoing,
if DIP Agent, shall, in its sole discretion, elect for any reason to file, record or otherwise
effectuate any Perfection Act, then DIP Agent is authorized to perform such act, and the Debtor
Loan Parties are authorized and directed to perform such act to the extent necessary or required
by DIP Agent, which act or acts shall be deemed to have been accomplished as of the date and
time of entry of this Interim Order notwithstanding the date and time actually accomplished, and
in such event, the subject filing or recording office is authorized to accept, file or record any
document in regard to such act in accordance with applicable law. DIP Agent may choose to
file, record or present a certified copy of this Interim Order in the same manner as a Perfection
Act, which shall be tantamount to a Perfection Act, and, in such event, the subject filing or
recording office is authorized to accept, file or record such certified copy of this Interim Order in
accordance with applicable law. Should DIP Agent so choose and attempt to file, record or
perform a Perfection Act, no defect or failure in connection with such attempt shall in any way
limit, waive or alter the validity, enforceability, attachment, or perfection of the post-petition
liens and security interests granted herein by virtue of the entry of this Interim Order.

(d) Nullifying Pre-Petition Restrictions to Post-Petition Financing.
Subject to the entry of a Final Order, notwithstanding anything to the contrary contained in any
pre-petition agreement, contract, lease, document, note or instrument to which any Debtor is a

party or under which any Debtor is obligated, except as otherwise permitted under the DIP Loan

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Documents, any provision that restricts, limits or impairs in any way any Debtor from granting
DIP Agent security interests in or liens upon any of the Collateral (including, among other
things, any anti-lien granting or anti-assignment clauses in any leases or other contractual
arrangements to which any Debtor is a party) under the DIP Loan Documents or this Interim
Order, as applicable, or otherwise entering into and complying with all of the terms, conditions
and provisions hereof or of the DIP Loan Documents, shall not (a) be effective and/or
enforceable against any such Debtor(s), DIP Agent or DIP Lender(s), as applicable, or
(b) adversely affect the validity, priority or enforceability of the liens, security interests, claims,
rights, priorities and/or protections granted to DIP Agent and DIP Lenders pursuant to this
Interim Order or the DIP Loan Documents, in each case, to the maximum extent permitted under
the Bankruptcy Code and other applicable law.
2.2 Superpriority Administrative Expenses.

(a) DIP Loans. For all Post-Petition Obligations now existing or
hereafter arising pursuant to this Interim Order, the DIP Loan Documents or otherwise, DIP
Agent, for the benefit of itself and the other DIP Lenders, is granted an allowed superpriority
administrative claim pursuant to § 364(c)(1) of the Bankruptcy Code, having priority in right of
payment over any and all other obligations, liabilities and indebtedness of Debtors, whether now
in existence or hereafter incurred by Debtors, and over any and all administrative expenses or
priority claims of the kind specified in, or ordered pursuant to, inter alia §§ 105, 326, 328, 330,
331, 364, 365, 503(b), 506(c) (subject to the entry of a Final Order), 507(a), 507(b), 546(c), 726,
1113 or 1114 of the Bankruptcy Code, (including the 507(b) claims (as defined below), and
whether or not such expenses or claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment), which allowed superpriority administrative claim shall be

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payable from and have recourse to all pre-petition and post-petition property of the Debtors and
all proceeds thereof (the “DIP Loan Superpriority Claim’).

2.3. Carve-Out. Upon DIP Agent providing written notice to Debtor Loan
Parties, Debtors’ lead counsel, counsel to any Committee and the U.S. Trustee stating that one
or more Events of Default (as defined in the DIP Credit Agreement) have occurred and that the
Post Carve-Out Trigger Notice Cap (defined below) has been invoked, then the liens in the
Collateral and any superpriority administrative expense claims of DIP Agent, DIP Lenders, and
the Adequate Protection Claims of each of Pre-Petition Revolving Loan Agent and Pre-Petition
Revolving Loan Lenders, Term Agent, Term Lenders, the Incremental Term Loan Agent and the
Incremental Term Loan Lenders, shall each be subject only to the right of payment of the Carve-
Out.

(a) “Carve-Out” means the sum of (a) all fees required to be paid to
the Clerk of the Court and to the Office of the United States Trustee under section 1930(a) of
title 28 of the United States Code plus interest at the statutory rate (without regard to the notice
set forth in (c) below); (b) all reasonable fees and expenses up to $50,000 incurred by a trustee
under Section 726(b) of the Bankruptcy Code (without regard to the notice set forth in
(c) below); (c) to the extent allowed by the Bankruptcy Court at any time, whether by interim
order, procedural order, or otherwise, all unpaid fees and expenses (the “Allowed Professional
Fees”) incurred by persons or firms retained by the Debtors or any official committee appointed
by the Bankruptcy Court (such committee, a “Committee”), if any, whose retention is approved
by the Bankruptcy Court pursuant to Sections 327, 328, or 1103 of the Bankruptcy Code (the
“Professionals”), subject to the terms of the Interim Order, the Final Order and any other interim

or other compensation order entered by the Bankruptcy Court that are incurred (i) at any time

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before delivery by the DIP Agent of a Carve-Out Trigger Notice (as defined below), whether
allowed by the Bankruptcy Court prior to or after delivery of a Carve-Out Trigger Notice, in an
amount not to exceed $500,000 to the extent allowed at any time, whether by interim order,
procedural order, or otherwise; and (ii) after the delivery of a Carve-Out Trigger Notice in an
aggregate amount not to exceed $3,000,000, to the extent allowed at any time, whether by
interim order, procedural order, or otherwise (the amount set forth in this clause (ii) being the
“Post-Carve-Out Trigger Notice Cap”). For purposes of the foregoing, “Carve-Out Trigger
Notice” shall mean a written notice delivered by the DIP Agent to the Debtor Loan Parties, their
lead counsel, counsel to any Committee, if any, and the U.S. Trustee, which notice may be
delivered following the occurrence and during the continuation of an Event of Default under the
DIP Credit Agreement or this Interim Order stating that the Post-Carve-Out Trigger Notice Cap
has been invoked. Nothing herein shall be construed to impair the ability of any party to object
to the fees, expenses, reimbursement or compensation described in clauses (a), (b), (c)(i) or
(c)(ii) above, on any grounds.

(b) Excluded Professional Fees. Notwithstanding anything to the
contrary in this Interim Order, neither the Carve-Out nor the proceeds of Collateral or any Loans,
Letters of Credit or any other credit or financial accommodations provided under or in
connection with the DIP Loan Documents shall be used to pay any Allowed Professional Fees or
any other fees or expenses incurred by any Professional in connection with any of the following:

(i) an assertion or joinder in any claim, counter-claim, action,

proceeding, application, motion, objection, defense or other contested matter seeking any
order, judgment, determination or similar relief: (A) challenging the amount, legality,

validity, priority, perfection, or enforceability of (aa) the Pre-Petition Revolving Loan

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Obligations or Pre-Petition Revolving Loan Agent’s and any Pre-Petition Revolving
Loan Lender’s liens on and security interests in the Pre-Petition Revolving Loan
Collateral, (bb) Post-Petition Obligations or DIP Agent’s or DIP Lenders’ liens on and

security interests in the Collateral, and (cc) the Pre-Petition Revolving Lender Adequate

 

Protection Claims (as defined below) and the Pre-Petition Revolving Lender Adequate
Protection Liens (as defined below); (B) invalidating, setting aside, avoiding or
subordinating, in whole or in part, (aa) the Pre-Petition Revolving Loan Obligations or
the Pre-Petition Revolving Loan Agent’s and Pre-Petition Revolving Lenders’ liens on
and security interests in the Pre-Petition Revolving Loan Collateral, (bb) the Post-Petition
Obligations or DIP Agent’s or DIP Lenders’ liens on and security interests in the
Collateral, or (cc) the Pre-Petition Revolving Lender Adequate Protection Claims or the
Pre-Petition Revolving Lender Adequate Protection Liens; or (C) preventing, hindering
or delaying DIP Agent’s or DIP Lenders’ assertion or enforcement of any lien, claim,
right or security interest or realization upon any Collateral in accordance with the terms
and conditions of this Interim Order;

(ii) a request to use Cash Collateral (as such term is defined in
section 363 of the Bankruptcy Code) without the prior written consent of DIP Agent in
accordance with the terms and conditions of this Interim Order;

(iii) a request for authorization to obtain debtor-in-possession financing
or other financial accommodations pursuant to section 364(c) or section 364(d) of the
Bankruptcy Code, other than as provided in this Interim Order, without the prior written

consent of DIP Agent;

 

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(iv) the commencement or prosecution of any action or proceeding of
any claims, causes of action or defenses against Pre-Petition Revolving Loan Agent, any
Pre-Petition Revolving Loan Lender, or any of their respective officers, directors,
employees, agents, attorneys, affiliates, successors or assigns, including, without
limitation, for lender liability or any attempt to recover or avoid any claim or interest
from Pre-Petition Revolving Loan Agent, or any Pre-Petition Revolving Loan Lender
under chapter 5 of the Bankruptcy Code (the “Avoidance Actions”);

(v) the cost of investigation into any claims against Pre-Petition
Revolving Loan Agent or any Pre-Petition Revolving Loan Lender arising under or in
connection with the Pre-Petition Revolving Loan Documents in excess of $50,000;

(vi) any act which has or could materially and adversely modify or
compromise the rights and remedies of DIP Agent or any DIP Lender under this Interim
Order, or which results in the occurrence of an Event of Default under any DIP Loan
Documents, or this Interim Order; or

(vii) after delivery of a Carve-Out Trigger Notice, any success,
completion, back-end or similar fees.

(c) Carve-Out Reserve. At DIP Agent’s discretion, DIP Agent may, at
any time and in any increment in accordance with the DIP Credit Agreement, establish a Reserve
(the “Carve-Out Reserve”) against the amount of Revolving Loans and Letters of Credit that
would otherwise be available to DIP Borrowers in respect of the Carve-Out.

2.4 Payment of Carve-Out. Payment of any Carve-Out, whether by or on
behalf of the DIP Agent or any DIP Lender, shall not and shall not be deemed to reduce the Post-

Petition Obligations, and shall not and shall not be deemed to subordinate any of DIP Agent’s or

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DIP Lender’s liens and security interests in the Collateral, the Pre-Petition Revolving Loan
Adequate Protection Claim (as defined below), or the DIP Loan Superpriority Claim or the Pre-
Petition Revolving Loan Adequate Protection Superpriority Claim to any junior pre- or post-
petition lien, interest or claim in favor of any other party. DIP Agent and DIP Lenders shall not,
under any circumstance, be responsible for the direct payment or reimbursement of any fees or
disbursements of any Professionals incurred in connection with the Case under any chapter of the
Bankruptcy Code, and nothing in Section 2.3 of this Interim Order shall be construed to obligate
DIP Agent or any DIP Lender in any way, to pay compensation to or to reimburse expenses of
any Professional, or to ensure that the Debtors have sufficient funds to pay such compensation or
reimbursement.
2.5 Adequate Protection.

(a) Authorization to Use Cash Collateral. Subject to the terms and
conditions of this Interim Order, the DIP Loan Documents, and in accordance with the Budget,
DIP Loan Parties shall be and are hereby authorized to use the Cash Collateral (as defined in
section 363 of the Bankruptcy Code) subject to the pre-petition liens and security interests
granted to the Pre-Petition Revolving Agent and the Pre-Petition Revolving Lenders. Nothing in
this Interim Order shall authorize the disposition of any assets of the Debtors or their Estate
outside the ordinary course of business, or any DIP Loan Parties’ use of Cash Collateral or other
proceeds resulting therefrom, except as expressly permitted in this Interim Order, the DIP Loan
Documents Agreements and in accordance with the Budget.

(b) Pre-Petition Revolving Lender Adequate Protection. As adequate
protection for the Continuing Obligations (as defined in the Pre-Petition Revolving Loan

Termination Agreement) (the “Pre-Petition Revolving Adequate Protection Claims”), the Pre-

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Petition Revolving Loan Agent, for the benefit of itself and the Pre-Petition Revolving Loan
Lenders, is hereby granted pursuant to §§ 361 and 363 of the Bankruptcy Code, effective and
perfected as of the date of the entry of this Interim Order and without the necessity of the
execution or filing of mortgages, security agreements, pledge agreements, financing statements
or other agreements, (A) valid, binding, enforceable and perfected replacement liens upon and
security interests in all Collateral, including cash collateral, and (B) a security interest in and lien
on all assets of the Debtors (collectively, the “Pre-Petition Revolving Loan Adequate Protection
Liens”), The Pre-Petition Revolving Loan Adequate Protection Liens described in clause (A)
shall be junior and subordinate only to (i) the Carve-Out to the extent set forth herein, (ii) the
Permitted Liens and Claims, and (iii) DIP Agent’s and DIP Lenders’ liens on the Collateral to
secure the Post-Petition Obligations, and shall otherwise be senior to all other security interests
in, liens on, or claims against any of the Collateral (including the Cash Collateral), and the Pre-
Petition Revolving Loan Adequate Protection Liens described in clause (B) shall be junior and
subordinate only (i) to the Carve-Out to the extent set forth herein, (ii) the liens of DIP Agent
and DIP Lenders securing the Post-Petition Obligations, and (iii) with respect to the Term
Collateral and the Incremental Term Collateral, to the Term Loan Liens, the Incremental Term
Loan Liens, the Term Loan Adequate Protection Liens and the Incremental Term Loan Adequate
Protection Liens; provided that the Pre-Petition Revolving Loan Adequate Protection Liens shall
only encumber the Avoidance Action Proceeds upon entry of the Final Order.

(c) Pre-Petition Revolving Section 507(b) Priority Claims. As
additional adequate protection for the Continuing Obligations, the imposition of the automatic
stay and the subordination to the Carve-Out, the Pre-Petition Revolving Loan Agent, for the

benefit of itself and the Pre-Petition Revolving Loan Lenders, is hereby granted as and to the

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extent provided by section507(b) of the Bankruptcy Code an allowed superpriority
administrative expense claim in each of the Cases and any successor bankruptcy cases (the “Pre-
Petition Revolving Loan Adequate Protection Superpriority Claim”). The Pre-Petition
Revolving Loan Adequate Protection Superpriority Claim shall be junior only to (A) the Carve-
Out, and (B) the DIP Loan Superpriority Claim, and shall otherwise have priority over all
administrative expense claims and unsecured claims against Debtors and their Estates now
existing or hereafter arising, of any kind or nature whatsoever.

(d) Pre-Petition Revolving Agent’s Fees and Expenses. The Debtor
Loan Parties are authorized to make current cash payments to Pre-Petition Revolving Agent in
order to reimburse Pre-Petition Revolving Agent for the reasonable, documented professional
fees and expenses incurred by the Pre-Petition Revolving Agent and the Pre-Petition Revolving
Lenders, provided that such fees and expenses shall be limited to those of one legal counsel, one
local counsel and one financial advisor.

(e) Term Loan Adequate Protection. As adequate protection for the
diminution in the value of their interests in the Term Collateral on account of the Debtors’ use of
such Term Collateral, Term Agent, for the benefit of itself and the Term Lenders (collectively,
the “Term Loan Adequate Protection Parties”), shall be granted the protection set forth in this
Section 2.5(e), pursuant to sections 361, 507, and 363(e) of the Bankruptcy Code for the consent
to the use of its Term Collateral, consent to the transactions contemplated by the DIP Loan
Documents and this Interim Order and for the diminution in the value of the pre-petition security
interests of such party, whether or not such diminution in value results from the sale, lease or use
by the Debtors of the Term Collateral, the stay of enforcement of any pre-petition security

interest arising from section 362 of the Bankruptcy Code, or otherwise (each, a “Term

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Diminution Claim”). As security for and solely to the extent of any Term Diminution Claim, the
Term Loan Adequate Protection Parties are granted the following adequate protection (the “Term
Loan Adequate Protection Obligations”):

(i) Term Loan Adequate Protection Lien. Term Agent, on behalf of
the Term Loan Adequate Protection Parties, shall be granted for their benefit, effective and
perfected as of the date of entry of this Interim Order and without the necessity of the execution

or filing of mortgages, security agreements, pledge agreements, financing statements or other

 

agreements, (A) valid, binding, enforceable and perfected replacement liens upon and security
interests in all Term Collateral and (B) a security interest in and lien on all assets of the Debtors
(the liens described in the immediately preceding clause (A) and this clause (B), collectively, the
“Term Loan Adequate Protection Liens”), which security interest and liens described in this
clause (B) shall be subject and subordinate only to (i) the Carve-Out, (ii) Permitted Liens and
Claims, (iii) the liens of DIP Agent and DIP Lenders securing all Post-Petition Obligations
arising under or in connection with the DIP Credit Agreement and the other DIP Loan
Documents and/or this Interim Order in and upon the Collateral and (iv) the Pre-Petition
Revolving Loan Adequate Protection Liens; provided that the Term Loan Adequate Protection
Liens shall only encumber the Avoidance Action Proceeds upon entry of the Final Order.

(i1) Term Loan Adequate Protection Super-Priority Claim. The Term
Agent, on behalf of the Term Loan Adequate Protection Parties, shall be granted, subject to the
payment of the Carve-Out, a super-priority administrative expense claim junior and subordinate
only to the DIP Loan Superpriority Claim and the Pre-Petition Revolving Loan Adequate
Protection Superpriority Claim; provided that the Term Agent and the Term Lenders shall not

receive or retain any payments, property or other amounts in respect of such super-priority

 

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claims unless and until all Post-Petition Obligations under the DIP Credit Agreement and the
other DIP Loan Documents and the Pre-Petition Revolving Loan Obligations (other than
unmatured indemnity obligations for which claims have not been asserted) have indefeasibly
been paid in cash in full in accordance with the terms of the DIP Credit Agreement and the Pre-
Petition Revolving Loan Documents.

(iii) Term Loan Fees and Expenses. The Debtors are authorized to
make payments to the Term Agent for the Term Agent’s and Term Lenders’ professional fees
and expenses, including the fees and expenses of the Term Agent’s and the Term Lenders’
counsel and financial advisor, provided that such fees and expenses shall be limited to those of
one legal counsel, one local counsel and one financial advisor. Further, Debtors are directed to
deliver, simultaneously with the corresponding deliveries made to the DIP Agent, to Term Agent
(a) all Budgets and other reporting required under the DIP Loan Documents and (b) all reporting
as required under, and all notices delivered by the Debtors or the DIP Agent pursuant to, the
Term Loan Agreements.

(iv) Payments under the Term Agreement. The Debtors are authorized
to timely make any payments of principal and interest due under the Term Agreements in
accordance with the Budget.

(v) Sale of Term Collateral. In the event the Debtors sell any of the
Term Collateral, the Debtors shall deposit the proceeds of such sale (which shall constitute the
cash collateral of the Term Agent for the benefit of the Term Lenders) into a deposit account that
is under the control of the Term Agent and shall enter into a deposit account control agreement
with the Term Agent and the applicable depositary bank to establish such control; provided that

the Incremental Term, Loan Lenders shall retain a junior interest in the proceeds of the sale of

 

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any Incremental Term Collateral in accordance with the terms of the Term Loan Documents and
the Incremental Term Loan Documents. Any use by the Debtors of such proceeds shall be
subject to the prior written consent of the Term Agent.
(f) Incremental Term Loan Adequate Protection. Incremental Term
Loan Agent, for the benefit of itself and the Incremental Term Loan Lenders (collectively, the
Incremental Term Loan Adequate Protection Parties”), shall be granted the protection set forth in
this Section 2.5(f), pursuant to sections 361, 507 and 363(e) of the Bankruptcy Code for the
consent to the use of its collateral, consent to the transactions contemplated by the DIP Loan
Documents, and for the diminution in the value of the pre-petition security interests of such
party, whether or not such diminution in value results from the sale, lease or use by the Debtors
of the Incremental Term Collateral, the stay of enforcement of any pre-petition security interest
arising from section 362 of the Bankruptcy Code, or otherwise (each, a “Incremental Term Loan
Diminution Claim”). As security for and solely to the extent of any Incremental Term Loan
Diminution Claim, the Incremental Term Loan Adequate Protection Parties are granted the
following adequate protection (the “Incremental Term Loan Adequate Protection Obligations”):
(i) Incremental Term Loan Adequate Protection Lien. Incremental
Term Loan Agent, on behalf of the Incremental Term Loan Adequate Protection Parties, shall be
granted for their benefit, effective and perfected as of the date of entry of this Interim Order and
without the necessity of the execution or filing of mortgages, security agreements, pledge
agreements, financing statements or other agreements, (A) valid, binding, enforceable and
perfected replacement liens upon and security interests in all Incremental Term Collateral and
(B) a security interest in and lien on all other assets of the Debtors (the liens described in the

immediately preceding clause (A) and this clause (B), collectively, the “Incremental Term Loan

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Adequate Protection Liens”), which security interest and liens described in this clause (B) shall
be, subject and subordinate only to (i) the Carve-Out, (ii) Permitted Liens and Claims, (iii) the
liens of DIP Agent and DIP Lenders securing all Post-Petition Obligations arising under or in
connection with the DIP Credit Agreement, the other DIP Loan Documents and this Interim
Order in and upon the Collateral, (iv) the Pre-Petition Revolving Loan Adequate Protection
Liens, and (v) the Term Loan Adequate Protection Liens; provided that the Incremental Term
Loan Adequate Protection Liens shall only encumber the Avoidance Action Proceeds upon entry
of the Final Order.

(ii) Incremental Term Loan Adequate Protection Super-Priority Claim.
Incremental Term Loan Agent, on behalf of the Incremental Term Loan Adequate Protection
Parties, shall be granted, subject to the payment of the Carve-Out, a super-priority administrative
expense claim junior and subordinate only to the DIP Loan Superpriority Claim, Revolving Loan
Adequate Protection Superpriority Claim and the Term Loan Superpriority Claim; provided that
the Incremental Term Loan Agent and the Incremental Term Loan Lenders shall not receive or
retain any payments, property or other amounts in respect of such super-priority claims unless
and until all Post-Petition Obligations under the DIP Credit Agreement, Pre-Petition Revolving
Loan Obligations and the Term Obligations have indefeasibly been paid in cash in full.

(iti) Incremental Term Loan Fees and Expenses. The Debtors are
authorized to make payments to the Incremental Term Loan Agent for the Incremental Term
Loan Agent’s and Incremental Term Loan Lenders’ professional fees, including the fees and
expenses of the Incremental Term Loan Lenders’ counsel and financial advisor, provided that
such fees and expenses shall be limited to those of one legal counsel, one local counsel and one

financial advisor. Further, Debtors are directed to deliver to Incremental Term Loan Agent,

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simultaneously with corresponding deliveries made to the DIP Agent, (a) all Budgets and other
reporting required under the DIP Loan Documents and (b) all reporting as required under, and all
notices delivered by the Debtors or the DIP Agent pursuant to, the Incremental Term Loan
Agreements,

(iv) Payments under_the Incremental Term Loan Agreement. The
Debtors are authorized to timely make any payments of principal and interest due under the
Incremental Term Loan Agreement in accordance with the Budget.

(v) Sale of Incremental Term Collateral. In the event the Debtors sell
any of the Incremental Term Collateral, the Debtors shall deposit the proceeds of such sale
(which shall constitute the cash collateral of the Term Agent for the benefit of the Term Lenders
and of the Incremental Term Agent for the benefit of the Incremental Term Lenders in
accordance with the priorities set forth in the Term Loan Documents and the Incremental Term
Loan Documents) into a deposit account that is under the control of the Term Agent and shall
enter into a deposit account control agreement with the Term Agent and the applicable
depositary bank to establish such control; provided that if the obligations owing under the Term
Loan Agreement have been paid in full, in the event the Debtors sell any of the Incremental
Term Collateral, the Debtors shall deposit the proceeds of such sale (which shall constitute the
cash collateral of the Incremental Term Loan Agent for the benefit of the Incremental Term Loan
Lenders) into a deposit account that is under the control of the Incremental Term Loan Agent and
shall enter into a deposit account control agreement with the Incremental Term Loan Agent and
the applicable depositary bank to establish such control. Any use by the Debtors of such

proceeds shall be subject to the prior written consent of the Term Agent, and if the obligations

 

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owing under the Term Loan Agreement have been paid in full, to the prior written consent of the
Incremental Term Loan Agent.

Section 3. Default; Rights and Remedies: Relief from Stay.

 

3.1. Events of Default. The occurrence of any of the following events shall
constitute an “Event of Default” under this Interim Order: (a) any Debtor’s failure to perform, in
any respect, any of the terms, conditions or covenants or their obligations under this Interim
Order; or (b) an “Event of Default” under the DIP Credit Agreement or any of the other DIP
Loan Documents.

3.2 Rights and Remedies upon Event of Default. Upon the occurrence of and
during the continuance of an Event of Default, (a) the Debtors shall be bound by all restrictions,
prohibitions and other terms as provided in this Interim Order, the DIP Credit Agreement and the
other DIP Loan Documents, and (b) the DIP Agent shall be entitled to take any act or exercise
any right or remedy (subject to Section 3.4 below) as provided in this Interim Order or any DIP
Loan Document, as applicable, including, without limitation, declaring all Post-Petition
Obligations immediately due and payable, accelerating the Post-Petition Obligations, ceasing to
extend Loans or provide or arrange for Letters of Credit on behalf of Debtor Loan Parties, setting
off any Post-Petition Obligations with Collateral or proceeds in DIP Agent’s possession, and
enforcing any and all rights with respect to the Collateral. DIP Agent and DIP Lenders shall
have no obligation to lend or advance any additional funds to or on behalf of Debtor Loan
Parties, or provide any other financial accommodations to Debtor Loan Parties, immediately
upon or after the occurrence of an Event of Default or upon the occurrence of any act, event, or
condition that, with the giving of notice or the passage of time, or both, would constitute an

Event of Default.

 

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3.3 Expiration of DIP Revolving Loan Commitment, Upon the expiration of
Debtor Borrowers’ authority to borrow and obtain other credit accommodations from DIP Agent
and DIP Lenders pursuant to the terms of this Interim Order and the DIP Loan Documents
(except if such authority shall be extended with the prior written consent of DIP Agent, which
consent shall not be implied or construed from any action, inaction or acquiescence by DIP
Agent or any DIP Loan Lender), unless an Event of Default set forth in Section 3.1 above occurs
sooner and the automatic stay has been lifted or modified pursuant to Section 3.4 of this Interim
Order, all of the Post-Petition Obligations shall immediately become due and payable and DIP
Agent and DIP Lenders shall be automatically and completely relieved from the effect of any
stay under section 362 of the Bankruptcy Code, any other restriction on the enforcement of its
liens upon and security interests in the Collateral or any other rights granted to DIP Agent and
DIP Lenders pursuant to the terms and conditions of the DIP Loan Documents or this Interim
Order, and DIP Agent, acting on behalf of itself and the other DIP Lenders, shall be and is
hereby authorized, in its sole discretion, to take any and all actions and remedies provided to it in
this Interim Order, the DIP Loan Documents or applicable law which DIP Agent may deem
appropriate and to proceed against and realize upon the Collateral or any other property of the
Debtors’ Estates.

3.4 Relief from Automatic Stay. The automatic stay provisions of section 362
of the Bankruptcy Code and any other restriction imposed by an order of the Court or applicable
law are hereby modified and vacated without further notice, application or order of the Court to
the extent necessary to permit DIP Agent and each DIP Lender to perform any act authorized or
permitted under or by virtue of this Interim Order or the DIP Loan Documents, as applicable,

including, without limitation, (a) to implement the post-petition financing arrangements

 

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authorized by this Interim Order and pursuant to the terms of the DIP Loan Documents, (b) to
take any act to create, validate, evidence, attach or perfect any lien, security interest, right or
claim in the Collateral, (c) to assess, charge, collect, advance, deduct and receive payments with
respect to the Post-Petition Obligations, including, without limitation, all interests, fees, costs
and expenses permitted under the DIP Loan Documents and apply such payments to the Post-
Petition Obligations pursuant to the DIP Loan Documents and/or this Interim Order, as
applicable, and (d) immediately upon the occurrence of an Event of Default, to take any action
and exercise all rights and remedies provided to it by this Interim Order, the DIP Loan
Documents or applicable law other than those rights and remedies against the Collateral as
provided in the following sentence. In addition, and without limiting the foregoing, upon the
occurrence and during the continuance of an Event of Default and after providing five (5)
business days (the “Default Notice Period”) prior written notice (the “Enforcement Notice”) to
counsel for the Debtors, counsel for the Committee (if appointed), and the U.S. Trustee, the DIP
Agent, acting on behalf of itself and the DIP Lenders, shall be entitled to take any action and
exercise all rights and remedies provided to it by this Interim Order, the DIP Loan Documents or
applicable law that DIP Agent may deem appropriate in its sole discretion to proceed against and
realize upon the Collateral or any other assets or properties of Debtors’ Estates upon which the
DIP Agent, for the benefit of itself and the applicable DIP Lenders, has been or may hereafter be
granted liens or security interests to obtain the full and indefeasible repayment of all Post-
Petition Obligations. Notwithstanding anything to the contrary, any action taken by the DIP
Agent to (i) terminate the commitments under the DIP Loan Documents, (ii) accelerate the
Loans, (iii) send blocking notices or activation notices pursuant to the terms of any Control

Agreement, (iv) repay any amounts owing in respect of the Post-Petition Obligations (including,

 

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without limitation but subject to the terms of this Interim Order, fees, indemnities and expense
reimbursements) and (v) cash collateralize Letters of Credit, Bank Products issued pursuant to
the DIP Loan Documents and/or Carve-Out obligations, in each case, shall not require any
advance notice to the Debtor Loan Parties. Unless otherwise ordered by the Court, in any
hearing regarding any exercise of rights or remedies (which hearing must take place within the
Default Notice Period), the only issue that may be raised by the Debtors in opposition thereto
shall be whether, in fact, an Event of Default has occurred and is continuing, and the Debtors
shall not be entitled to seek relief, including, without limitation, under section 105 of the
Bankruptcy Code, to the extent such relief would in any way impair or restrict the rights and
remedies of the DIP Agent or the DIP Lenders set forth in this Interim Order or the DIP Loan
Documents.

Section 4. Representations; Covenants: and Waivers.

4.1 Objections to Pre-Petition Obligations.

(a) Objections to Pre-Petition Obligations. Notwithstanding anything
to the contrary in the Interim Order, any action, claim, defense, complaint, motion or other
written opposition (hereinafter, an “Objection’”) that seeks to object to, challenge, contest or
otherwise invalidate or reduce, whether by setoff, recoupment, counterclaim, deduction,
disgorgement or claim of any kind: (a) the existence, validity or amount of the Pre-Petition
Revolving Loan Obligations, or (b) the extent, legality, validity, perfection or enforceability of
Pre-Petition Revolving Loan Agent’s and Pre-Petition Revolving Loan Lenders’ pre-petition
liens and security interests in the Pre-Petition Revolving Loan Collateral shall be properly filed
with the Court by any Committee, and no other party, within the earliest of (w) sixty (60)
calendar days from the date of appointment of the Committee by the U.S. Trustee, (y) in the

event no Committee is appointed within the thirty (30) days following the Petition Date, by any

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party in interest with requisite standing within seventy-five (75) calendar days from the date o
entry of this Interim Order or (z) the date that is the later of (A) July 8, 2016 at 4:00 p.m. ET or
(B) five (5) Business Days prior to the date that the Court schedules that the confirmation
hearing take place (provided that such 5 Business Day period shall be extended in the event that
the confirmation hearing is extended, continued or postponed for any reason, but in no event
later than the time period provided in subsections (w) or (y) above) with respect to Debtors’ Joint
Pre-Packaged Plan of Reorganization (collectively, the “Objection Period”); provided, however,
that nothing herein shall permit any party to challenge the extent or validity of the Post-Petition
Obligations or any liens that secure such obligations. If any such Objection is timely and
properly filed and successfully pursued, nothing in this Interim Order shall prevent the Court
from granting appropriate relief with respect to the Pre-Petition Revolving Loan Obligations or
Pre-Petition Revolving Agent’s or Pre-Petition Revolving Lenders’ pre-petition liens on the Pre-
Petition Revolving Loan Collateral. If no Objection is timely and properly filed, or if an
Objection is timely and properly filed but denied, (i) the Pre-Petition Revolving Loan
Obligations shall be deemed allowed in full, shall not be subject to any setoff, recoupment,
counterclaim, deduction or claim of any kind, and shall not be subject to any further objection or
challenge by any party at any time, and Pre-Petition Revolving Agent’s and Pre-Petition
Revolving Loan Lenders’ pre-petition liens on and security interest in the Pre-Petition Revolving
Loan Collateral shall be deemed legal, valid, perfected, enforceable, and non-avoidable for all
purposes and of first and senior priority, subject to only the Permitted Liens and Claims, and (ii)
the Pre-Petition Revolving Loan Agent and the Pre-Petition Revolving Loan Lenders and each of

their respective participants, agents, officers, directors, employees, attorneys, professionals,

successors, and assigns shall be deemed released and discharged from any and all claims and

 

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causes of action related to or arising out of the Pre-Petition Revolving Loan Documents and shall
not be subject to any further objection or challenge by any party at any time. Nothing contained
in this Section 4.1 or otherwise shall or shall be deemed or construed to impair, prejudice or
waive any rights, claims or protections afforded to DIP Agent or any DIP Lenders in connection
with all post-petition Loans, Letters of Credit, Bank Products and any other post-petition
financial and credit accommodations provided by DIP Agent and the DIP Lenders to Debtor
Loan Parties in reliance on section 364(e) of the Bankruptcy Code and in accordance with the
terms and provisions of this Interim Order and the DIP Loan Documents.

(b) Objections to Term Obligations. Notwithstanding anything to the
contrary in the Interim Order, any action, claim, defense, complaint, motion or other written
opposition (hereinafter, a “Term Loan Objection”) that seeks to object to, challenge, contest or
otherwise invalidate or reduce, whether by setoff, recoupment, counterclaim, deduction,
disgorgement or claim of any kind: (a) the existence, validity or amount of the Term Loan
Obligations, (b) the extent, legality, validity, perfection or enforceability of Term Agent’s and
Term Lenders’ pre-petition liens and security interests in the Term Loan Collateral, shall be
properly filed with the Court within the Objection Period. The Term Agent and any Term
Lender shall be entitled to respond to any Term Loan Objection. If any such Term Loan
Objection is timely and properly filed and successfully pursued, nothing in this Interim Order
shall prevent the Court from granting appropriate relief with respect to the Term Obligations or
Term Agent’s or Term Lenders’ pre-petition liens on the Term Collateral. If no Term Loan
Objection is timely and properly filed, or if a Term Loan Objection is timely and properly filed
but denied, (i) the Term Obligations shall be deemed allowed in full, shall not be subject to any

setoff, recoupment, counterclaim, deduction or claim of any kind, and shall not be subject to any

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further objection or challenge by any party at any time, and Collateral shall be deemed legal,

valid, perfected, enforceable, and non-avoidable for all purposes, and (ii) the Term Agent’s or

 

Term Lenders’ and each of their respective participants, agents, officers, directors, employees,
attorneys, professionals, successors, and assigns shall be deemed released and discharged from
any and all claims and causes of action related to or arising out of the Term Loan Documents and
shall not be subject to any further objection or challenge by any party at any time.

(c) Objections _to__ Incremental Term _ Loan Obligations.
Notwithstanding anything to the contrary in the Interim Order, any action, claim, defense
complaint, motion or other written Opposition (hereinafter, an “Incremental Term Loan
Objection”) that seeks to object to, challenge, contest or otherwise invalidate or reduce, whether
by setoff, recoupment, counterclaim, deduction, disgorgement or claim of any kind: (a) the
existence, validity or amount of the Incremental Term Loan Obligations, (b) the extent, legality,
validity, perfection or enforceability of Incremental Term Loan Agent’s and Incremental Term
Loan Lenders’ pre-petition liens and security interests in the Incremental Term Collateral shall
be properly filed with the Court within the Objection Period. The Incremental Term Loan Agent
and any Incremental Term Loan Lender shall be entitled to respond to any Incremental Term
Loan Objection. If any such Incremental Term Loan Objection is timely and properly filed and
successfully pursued, nothing in this Interim Order shall prevent the Court from granting
appropriate relief with respect to the Incremental Term Loan Obligations or Incremental Term
Loan Agent’s or Incremental Term Loan Lenders’ pre-petition liens on the Incremental Term
Collateral. If no Incremental Term Loan Objection is timely and properly filed, or if an
Incremental Term Loan Objection is timely and properly filed but denied, (i) the Incremental

Term Loan Obligations shall be deemed allowed in full, shall not be subject to any setoff,

 

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recoupment, counterclaim, deduction or claim of any kind, and shall not be subject to any further
objection or challenge by any party at any time, and Incremental Term Loan Agent’s or
Incremental Term Loan Lenders’ pre-petition liens on and security interest in the Incremental
Term Collateral shall be deemed legal, valid, perfected, enforceable, and non-avoidable for all
purposes, and (ii) the Incremental Term Loan Agent’s or Incremental Term Loan Lenders’ and
each of their respective participants, agents, officers, directors, employees, attorneys,
professionals, successors, and assigns shall be deemed released and discharged from any and all
claims and causes of action related to or arising out of the Incremental Term Loan Documents
and shall not be subject to any further objection or challenge by any party at any time.

(d) For the avoidance of doubt, any trustee appointed or elected in
these Chapter 11 Cases shall, until the expiration of the Objection Period, and thereafter for the
duration of any adversary proceeding or contested matter commenced pursuant to this
paragraph (whether commenced by such trustee or commenced by any other party in interest on
behalf of the Debtors’ estates), be deemed to be a party other than the Debtors and shall not, for
purposes of such adversary proceeding or contested matter, be bound by the acknowledgments,
admissions, confirmations and stipulations of the Debtors in this Interim Order

4.2 Debtors’ Waivers. Unless otherwise ordered by the Court, at all times
during the Cases, and whether or not an Event of Default has occurred, the Debtors waive any
right that they may have to seek further authority (a) to use Cash Collateral of DIP Agent and
DIP Lenders or of Pre-Petition Revolving Agent and Pre-Petition Revolving Lenders under
section 363 of the Bankruptcy Code, (b) to obtain post-petition loans or other financial
accommodations pursuant to section 364(c) or 364(d) of the Bankruptcy Code, other than as

provided in this Interim Order or as may be otherwise expressly permitted pursuant to the DIP

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Loan Documents, (c) to challenge the application of any payments authorized by this Interim

Order as pursuant to section 506(b) of the Bankruptcy Code, or to assert that the value of the Pre-

 

Petition Revolving Loan Collateral is less than the Pre-Petition Revolving Loan Obligations, or
that the value of the Term Collateral is less than the Term Obligations, or that the value of the
Incremental Term Collateral is less than the Incremental Term Loan Obligations, (d) to propose,
support or have a plan of reorganization or liquidation that does not provide for the indefeasible
payment in cash in full and satisfaction of all Post-Petition Obligations on the effective date of
such plan in accordance with the terms and conditions set forth in the DIP Credit Agreement, or
(e) to seek relief under the Bankruptcy Code, including without limitation, under section 105 of
the Bankruptcy Code, to the extent any such relief would in any way restrict or impair the rights
and remedies of DIP Agent or any DIP Lender as provided in this Interim Order and the DIP
Loan Documents or DIP Agent’s or any DIP Loan Lender’s exercise of such rights or remedies;
provided, however, that DIP Agent may otherwise consent in writing, but no such consent shall
be implied from any other action, inaction, or acquiescence by DIP Agent or any DIP Loan
Lender, and the consent of DIP Agent shall be required in order to relieve the Debtors’ of their
obligations under this Section 4.2.

4.3 Section 506(c) Claims. Subject to entry of a Final Order granting such
relief, no costs or expenses of administration which have or may be incurred in the Cases shall be
charged against DIP Agent, any DIP Loan Lender, Term Agent, any Term Lender, Incremental
Term Loan Agent, or any Incremental Term Loan Lender, their respective claims or the
Collateral, Term Collateral, or the Incremental Term Collateral (as applicable) pursuant to
§ 506(c) of the Bankruptcy Code without the prior written consent of DIP Agent, Term Agent, or

Incremental Term Loan Agent (as applicable), and no such consent shall be implied from any

 

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other action, inaction or acquiescence by DIP Agent, any DIP Lender, Term Agent, any Term
Lender, the Incremental Term Loan Agent, or any Incremental Term Loan Lender.
4.4 Collateral Rights. Unless otherwise ordered by the Court, until all Post-
Petition Obligations shall have been indefeasibly paid and satisfied in full:
(a) no other party shall foreclose or otherwise seek to enforce any
junior lien or claim in Collateral; and
(b) upon and after the declaration of the occurrence of an Event of
Default, and subject to DIP Agent obtaining relief from the automatic stay as provided
for herein, in connection with a liquidation of any of the Collateral, DIP Agent (or any of
its employees, agents, consultants, contractors or other professionals) shall have the right,
at the sole cost and expense of Debtors, to: (i) enter upon, occupy and use any real or
personal property, fixtures, equipment, leasehold interests or warehouse arrangements
owned or leased by Debtors and (ii) use any and all trademarks, trade names, copyrights,
licenses, patents or any other similar assets of Debtors, which are owned by or subject to
a lien of any third party and which are used by Debtors in their businesses. DIP Agent
and DIP Lenders will be responsible for the payment of any applicable fees, rentals,
royalties or other amounts due such lessor, licensor or owner of such property for the
period of time that DIP Agent actually uses such assets or property (but in no event for
any accrued and unpaid fees, rentals or other amounts due for any period prior to the date
that DIP Agent actually occupies or uses such assets or properties or for any fees, rentals
or other amounts that may become due following the end of DIP Agent’s occupation or

use).

 

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4.5 Releases.
(a) Upon the earlier of (a) the entry of a Final Order granting the
Motion or (b) the entry of an order extending the Interim F inancing Period beyond thirty (30)

calendar days after the date of this Interim Order, and in each instance, subject to Section 4.1

 

above, in consideration of DIP Agent, DIP Lenders, Pre-Petition Revolving Loan Agent and Pre-
Petition Revolving Loan Lenders permitting Debtors to use the Pre-Petition Revolving Loan
Collateral (including Cash Collateral) and providing other credit and financial accommodations
to the Debtors pursuant to the provisions of the DIP Loan Documents and this Interim Order,
each Debtor, on behalf of itself and its successors and assigns, (collectively, the “Releasors”),
shall, forever release, discharge and acquit DIP Agent, each DIP Lender, Pre-Petition Revolving
Agent and each Pre-Petition Revolving Lender and their respective successors and assigns, and
their present and former shareholders, affiliates, subsidiaries, divisions, predecessors, directors,
officers, attorneys, employees and other representatives (collectively, the “Pre-Petition
Releasees”) of and from any and all claims, demands, liabilities, responsibilities, disputes,
remedies, causes of action, indebtedness and obligations, of every kind, nature and description,
including, without limitation, any so-called “lender liability” claims or defenses, that Releasors
had, have or hereafter can or may have against Pre-Petition Releasees as of the date hereof, in
respect of events that occurred on or prior to the date hereof with respect to the Debtors, the Pre-
Petition Revolving Loan Obligations, the Pre-Petition Revolving Loan Documents and any
Loans, Letters of Credit, Bank Products or other financial accommodations made by DIP Agent
and/or the DIP Lenders to Debtors pursuant to the DIP Loan Documents. In addition, subject to
the entry of the Final Order, upon the repayment of all Post-Petition Obligations (as defined in

the DIP Credit Agreement) owed to the DIP Agent and the DIP Lenders by Debtors and

 

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termination of the rights and obligations arising under the DIP Loan Documents (which payment
and termination shall be on terms and conditions acceptable to the DIP Agent), the DIP Agent
and the DIP Lenders shall be released from any and all obligations, liabilities, actions, duties,
responsibilities and causes of action arising or occurring in connection with or related to the DIP
Loan Documents, this Interim Order or the Final Order (including, without limitation, any
obligation or responsibility (whether direct or indirect, absolute or contingent, due or not due,
primary or secondary, liquidated or unliquidated) to pay or otherwise fund the Carve-Out, on
terms and conditions acceptable to DIP Agent.

Section 5, Other Rights and Post-Petition Obligations.

5.1 No Modification or Stay of This Interim Order. The DIP Agent and DIP
Lenders are entitled to all of the rights and benefits granted under Section 364(e) of the
Bankruptcy Code to the maximum extent permitted by law, notwithstanding (a) any stay,
modification, amendment, supplement, vacation, revocation or reversal of this Interim Order, the
DIP Loan Documents or any term hereunder or thereunder, (b) the failure to obtain a Final Order
pursuant to Bankruptcy Rule 4001(c)(2), or (c) the dismissal or conversion of one or more of the
Cases (each, a “Subject Event”).

5.2 Power to Waive Rights: Duties to Third Parties, DIP Agent shall have the
right to waive any of the terms, rights and remedies provided or acknowledged in this Interim
Order in respect of DIP Agent and DIP Lenders (the “DIP Lender Rights”), and shall have no
obligation or duty to any other party with respect to the exercise or enforcement, or failure to
exercise or enforce, any DIP Lender Right(s). Any waiver by DIP Agent of any DIP Lender
Rights shall not be or constitute a continuing waiver. Any delay in or failure to exercise or
enforce any DIP Lender Right shall neither constitute a waiver of such DIP Lender Right, subject

DIP Agent or any DIP Lender to any liability to any other party, nor cause or enable any other

 

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party to rely upon or in any way seek to assert as a defense to any obligation owed by the
Debtors to DIP Agent or any DIP Lender.

5.3. Reservation of Rights. The terms, conditions and provisions of this
Interim Order are in addition to and without prejudice to the rights of DIP Agent and each DIP
Lender to pursue any and all rights and remedies under the Bankruptcy Code, the DIP Loan
Documents or any other applicable agreement or law, including, without limitation, rights to seek
adequate protection and/or additional or different adequate protection, to seek relief from the
automatic stay, to seek an injunction, to oppose any request for use of cash collateral or granting
of any interest in the Collateral, as applicable, or priority in favor of any other party, to object to
any sale of assets, and to object to applications for allowance and/or payment of compensation of
Professionals or other parties seeking compensation or reimbursement from the Estates; provided
that, if the exercise of any such right or remedy is inconsistent with the terms of this Interim
Order, any such exercise shall be subject to further order of the Court.

5.4 Binding Effect.

(a) The provisions of this Interim Order and the DIP Loan Documents,
the Post-Petition Obligations, the DIP Loan Superpriority Claim, the Pre-Petition Revolving
Loan Adequate Protection Superpriority Claim, and any and all rights, remedies, privileges and
benefits in favor of each of the DIP Agent and the DIP Lenders, the Term Loan Adequate
Protection Obligations and any and all rights, remedies, privileges and benefits in favor of each
of the Term Agent and the Term Lenders, and the Incremental Term Loan Adequate Protection
Obligations and any and all rights, remedies, privileges and benefits in favor of each of the
Incremental Term Loan Agent and the Incremental Term Loan Lenders provided or

acknowledged in this Interim Order, and any actions taken pursuant thereto, shall be effective

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immediately upon entry of this Interim Order pursuant to Bankruptcy Rules 6004(g) and 7062,
shall continue in full force and effect, and shall survive entry of any such other order, including
without limitation, any order which may be entered confirming any plan of reorganization,
converting one or more of the Cases to any other chapter under the Bankruptcy Code, or
dismissing one or more of the Cases.

(b) Any order dismissing one or more of the Cases under section 1112
or otherwise shall be deemed to provide (in accordance with §§ 105 and 349 of the Bankruptcy
Code) that (i) the DIP Loan Superpriority Claim and DIP Agent’s and DIP Lenders’ liens on and
security interests in the Collateral and all other claims, liens, adequate protections and other
rights granted pursuant to the terms of this Interim Order shall continue in full force and effect
notwithstanding such dismissal until the Post-Petition Obligations are indefeasibly paid and
satisfied in full, (ii) the Term Loan Adequate Protection Obligations and other rights granted to
the Term Agent and Term Lenders pursuant to the terms of this Interim Order shall continue in
full force and effect notwithstanding such dismissal until the Term Obligations are indefeasibly
paid and satisfied in full, (iii) the Incremental Term Loan Adequate Protection Obligations and
other rights granted to the Incremental Term Loan Agent and the Incremental Term Loan
Lenders pursuant to the terms of this Interim Order shall continue in full force and effect
notwithstanding such dismissal until the Incremental Term Loan Obligations are indefeasibly
paid and satisfied in full, and (iv) this Court shall retain jurisdiction, notwithstanding such
dismissal, for the purposes of enforcing all such claims, liens, protections and rights.

(c) In the event this Court modifies any of the provisions of this
Interim Order or the DIP Loan Documents following a Final Hearing, such modifications shall

not affect the rights or priorities of DIP Agent and DIP Lenders pursuant to this Interim Order

 

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with respect to the Collateral or any portion of the Post-Petition Obligations which arises or is
incurred or is advanced prior to such modifications, and this Interim Order shall otherwise
remain in full force and effect.

(d) This Interim Order shall be binding upon Debtors, all parties in

interest in the Cases and their respective successors and assigns, including any trustee or other

 

fiduciary appointed in the Cases or any subsequently converted bankruptcy case(s) of any
Debtor. This Interim Order shall also inure to the benefit of DIP Agent, DIP Lenders, Debtors,
the Term Agent, the Term Lenders, the Incremental Term Loan Agent, the Incremental Term
Loan Lenders and their respective successors and assigns.

5.5 Restrictions _on Cash Collateral Use, Additional Financing, Plan
Treatment.

(a) All post-petition advances and other financial accommodations
under the DIP Credit Agreement and the other DIP Loan Documents are made in reliance on this
Interim Order and, it shall constitute an Event of Default under the terms of this Interim Order
and the DIP Loan Documents if (i) the Debtors seek entry of an order, (ii) any other party seeks
and the Debtors consent, fail to object or fail to otherwise oppose entry of an order, or (iii) an
order is entered in the Cases (upon entry of a Final Order, there shall not at any time be any order
entered in the Cases), or in any subsequently converted case under chapter 7 of the Bankruptcy
Code, which (a) authorizes the use of cash collateral of Debtors in which DIP Agent or DIP
Lenders have an interest, or the sale, lease, or other disposition of property of any Debtor’s
Estate in which DIP Agent or DIP Lenders have a lien or security interest, except as expressly
permitted hereunder or in the DIP Loan Documents, or (b) authorizes under section 364 of the

Bankruptcy Code the obtaining of credit or the incurring of indebtedness secured by a lien or

 

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security interest which is equal or senior to a lien or security interest in property in which DIP
Agent or DIP Lenders hold a lien or security interest, or which is entitled to priority
administrative claim status which is equal or superior to that granted to DIP Agent and DIP
Lenders herein; unless, in each instance (x) DIP Agent shall have given its express prior written
consent with respect thereto, no such consent being implied from any other action, inaction or
acquiescence by DIP Agent or any DIP Lender, or (y) such other order requires that all Post-
Petition Obligations shall first be indefeasibly paid and satisfied in full in accordance with the
terms of the DIP Credit Agreement and the other DIP Loan Documents, including, without
limitation, all debts and obligations of Debtors to DIP Agent and DIP Lenders, which arise or
result from the obligations, loans, security interests and liens authorized herein, on terms and
conditions acceptable to DIP Agent. The security interests and liens granted to or for the benefit
of DIP Agent and DIP Lenders hereunder and the rights of DIP Agent and DIP Lenders pursuant
to this Interim Order and the DIP Loan Documents with respect to the Post-Petition Obligations
and the Collateral are cumulative and shall not be altered, modified, extended, impaired, or
affected by any plan of reorganization or liquidation of Debtors and, if DIP Agent shall expressly
consent in writing that the Post-Petition Obligations shall not be repaid in full upon confirmation
thereof, shall continue after confirmation and consummation of any such plan.
5.6 | No Owner/Operator Liability.

(a) Subject to the entry of the Final Order granting such relief, neither
the DIP Agent nor any DIP Lender shall be deemed to be in control of the operations of the
Debtors or to be acting as a “responsible person” or “owner or operator” with respect to the

operation or management of the Debtors (as such terms, or any similar terms, are used in the

 

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United States Comprehensive Environmental Response, Compensation and Liability Act, 29
U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute).

5.7 Marshalling. Subject to entry of the Final Order granting such relief, (a)
in no event shall DIP Agent or any DIP Lender be subject to the equitable doctrine of
“marshalling” or any similar doctrine with respect to the Collateral, and (b) DIP Agent and DIP
Lender shall each be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy
Code, and the “equities of the case” exception under section 552(b) of the Bankruptcy Code shall
not apply to DIP Agent or any DIP Lender with respect to proceeds, products, offspring or
profits of any of the Collateral, as applicable,

5.8 Right of Setoff.

(a) To the extent any funds were on deposit with Pre-Petition
Revolving Agent as of the Petition Date, including, without limitation, all funds deposited in, or
credited to, an account of any Debtor with Pre-Petition Revolving Agent or any Pre-Petition
Revolving Lender immediately prior to the filing of the Cases (regardless of whether, as of the
Petition Date, such funds had been collected or made available for withdrawal by any such
Debtor), such funds (the “Deposited Funds”) are subject to rights of setoff. By virtue of such
setoff rights, the Deposited Funds are subject to a lien in favor of DIP Agent or the applicable
DIP Lenders pursuant to §§ 506(a) and 553 of the Bankruptcy Code.

5.9 Right to Credit Bid.

(a) The DIP Agent, on behalf of itself and the DIP Lenders, shall have
the right to “credit bid” on the Collateral. In connection with any such credit bid, including
without limitation, sales of the Debtors’ assets occurring pursuant to section 363 of the

Bankruptcy Code or included as part of any restructuring plan subject to confirmation under

 

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section 1129(b)(2)(A)(i)-(iii) of the Bankruptcy Code, the DIP Agent, on behalf of itself and the

 

DIP Lenders, shall have the right to credit bid the amount of its and their claims arising under the
terms of the DIP Loan Documents, or on account of the Pre-Petition Revolving Loan Adequate
Protection Liens.

(b) Subject to the entry of a Final Order, the Term Agent, on behalf of
itself and the Term Lenders, shall have the right to “credit bid” the amount of its and their claims
arising under the terms of the Term Agreements or on account of the Term Loan Adequate
Protection Liens, during any sale of the Term Collateral or of all or substantially all of the
Debtors’ assets, including without limitation, sales occurring pursuant to section 363 of the
Bankruptcy Code or included as part of any restructuring plan subject to confirmation under
section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code, provided that, in connection with any
such credit bid with respect to the sale of Collateral, the Term Agent pays all Post-Petition
Obligations in cash indefeasibly in full accordance with the terms of the DIP Credit Agreement
and the other DIP Loan Documents.

(c) Subject to the entry of a Final Order, the Incremental Term Loan
Agent, on behalf of itself and the Incremental Term Loan Lenders, shall have the right to “credit
bid” the amount of its and their claims arising under the terms of the Incremental Term Loan
Agreement or on account of the Incremental Term Loan Adequate Protection Liens, during any
sale of the Incremental Term Collateral or of all or substantially all of the Debtors’ assets,
including without limitation, sales occurring pursuant to section 363 of the Bankruptcy Code or
included as part of any restructuring plan subject to confirmation under
section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code, provided that, in connection with any

such credit bid with respect to the sale of Collateral, the Incremental Term Loan Agent pays all

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Post-Petition Obligations in cash indefeasibly in full accordance with the terms of the DIP Credit
Agreement and the other DIP Loan Documents; provided further that in connection with any
such credit bid with respect to the Term Collateral, the Incremental Term Loan Agent pays all
outstanding obligations under the Term Loan Documents in cash upon the closing of any such
sale.

5.10 Term: Termination,

(a) Notwithstanding any provision of this Interim Order to the
contrary, the term of the fmancing arrangements among Debtors, DIP Agent and DIP Lenders
authorized by this Interim Order may be terminated pursuant to the terms of the DIP Credit
Agreement.

5.11. Limited Effect. In the event of a conflict between the terms and

 

provisions of any of the DIP Loan Documents and this Interim Order, the terms and provisions
of this Interim Order shall govern.

5.12 Objections Overruled, All objections to the entry of this Interim Order
are, to the extent not withdrawn, hereby overruled.

Section 6. Final Hearing and Response Dates.

The Final Hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is scheduled
for June 28, 2016, at 2:00 pm ET before this Court. The Debtors shal] promptly mail copies of
this Interim Order to the Noticed Parties, and to any other party that has filed a request for
notices with this Court and to any Committee after same has been appointed, or such
Committee’s counsel, if same shall have filed a request for notice. Any party in interest
objecting to the relief sought at the Final Hearing shall serve and file written objections, which
objections shall be served upon (a) proposed counsel to the Debtors: Baker Botts LLP, 30

Rockefeller Plaza, New York, NY 10112, Attn: Emanuel C. Grillo; (b) proposed co-counsel to

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the Debtors: Morris, Nichols, Arsht & Tunnell LLP, 1201 North Market Street, 16th Flr., P.O.
Box 1347, Wilmington, DE 19899-1347, Attn: Robert J. Dehney; (c) counsel for the DIP Agent,
Otterbourg, P.C., 230 Park Avenue, New York, New York 10169-0075; Attn: Andrew M.
Kramer, Esq.; (d) co-counsel for the DIP Agent, Womble Carlyle Sandridge & Rice, LLP, 222
Delaware Avenue, Suite 1501, Wilmington, Delaware 19801, Attn: Thomas Horan; (e) counsel
for the Term Agent and Consenting Term Lenders, Jones Day, 250 Vesey Street, New York, NY
10281-1047, Attn: Scott J. Greenberg and Michael J. Cohen, (f) counsel to the Incremental Term
Loan Agent, Latham & Watkins, 885 Third Avenue, New York, NY 10022-4834, Attn: Mark A.
Broude, and 355 South Grand Avenue, Los Angeles, CA 90071-1560, Attn: Adam E. Malatesta;
(g) counsel to any Committee; and (h) the U.S. Trustee; and shall be filed with the Clerk of the
United States Bankruptcy Court for the District of Delaware, in each case, to allow actual receipt

of the foregoing no later than 4:00 p.m., prevailing Eastern time on June 21, 2016.

Dated: \ , 2016 |
Wi}mington, Delaware hestuy Liwudlu_

THE HONORABLE LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE

 

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